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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
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 8   FEDERAL TRADE COMMISSION,
     STATE OF NEW YORK, STATE OF
 9   CONNECTICUT, COMMONWEALTH OF
     PENNSYLVANIA, STATE OF DELAWARE,
10   STATE OF MAINE, STATE OF MARYLAND,
     COMMONWEALTH OF MASSACHUSETTS,
11   STATE OF MICHIGAN, STATE OF
     MINNESOTA, STATE OF NEVADA, STATE
12   OF NEW HAMPSHIRE, STATE OF NEW
     JERSEY, STATE OF NEW MEXICO, STATE                    CASE NO.: 2:23-cv-01495
13   OF OKLAHOMA, STATE OF OREGON,
     STATE OF RHODE ISLAND, and STATE OF                   NOTICE OF RELATED CASES
14   WISCONSIN,

15                    Plaintiffs,

16               v.

17   AMAZON.COM, INC., a corporation,

18                    Defendant.

19

20         Pursuant to Local Civil Rule 3(g)(1), Plaintiffs Federal Trade Commission (“FTC”) and

21 states of New York, Connecticut, Pennsylvania, Delaware, Maine, Maryland, Massachusetts,

22 Michigan, Minnesota, Nevada, New Hampshire, New Jersey, New Mexico, Oklahoma, Oregon,

23 Rhode Island, and Wisconsin submit this notice of the following related cases: Frame-Wilson v.

24 Amazon.com, Inc., No. 2:20-cv-00424 (W.D. Wash.) (“Frame-Wilson”); De Coster v.
     NOTICE OF RELATED CASES - 1                                  FEDERAL TRADE COMMISSION
     CASE NO. 2:23-CV-01495                                           600 Pennsylvania Avenue, NW
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 1 Amazon.com, Inc., No. 2:21-cv-00693 (W.D. Wash.) (“De Coster”); and Hogan v. Amazon.com,

 2 Inc., No. 2:21-cv-00996 (W.D. Wash.) (“Hogan”) (together, the “Related Cases”). Judge

 3 Ricardo S. Martinez currently presides over each of the Related Cases.

 4          Frame-Wilson is a putative class action brought on behalf of “[a]ll persons who, on or

 5 after March 19, 2016, purchased through any other retail e-commerce channel in the United

 6 States other than Amazon Marketplace one or more products concurrently offered for sale by

 7 Amazon’s third-party sellers on Amazon Marketplace.” Second Amended Class Action

 8 Complaint, Frame-Wilson v. Amazon.com, Inc., No. 2:20-cv-00424 (W.D. Wash. Apr. 11, 2022),

 9 Dkt. #55 at 94-95. The Frame-Wilson plaintiffs bring antitrust claims for violations of Section 1

10 and Section 2 of the Sherman Act as well as California’s Cartwright Act, alleging that Amazon

11 “regularly monitors retail e-commerce prices offered to U.S. customers both by its external

12 competitors and its third-party sellers,” id. at 66, and “penalize[s] sellers that offer products at a

13 lower price on competing sites” such that “sellers either raise their prices on other websites or

14 lose selling privileges on Amazon Marketplace,” id. at 11-12. The Frame-Wilson plaintiffs

15 allege that Amazon’s conduct has the effect of “reducing online competition and increasing

16 online retail prices.” Id. at 50.

17          De Coster is a putative class action brought on behalf of “[a]ll persons who on or after

18 May 26, 2017, purchased one or more goods on Amazon’s marketplace.” Consolidated

19 Amended Complaint, De Coster v. Amazon.com, Inc., No. 2:21-cv-00693 (W.D. Wash. July 21,

20 2021), Dkt. #20 at 50. The De Coster plaintiffs bring antitrust claims for violations of Section 1

21 and Section 2 of the Sherman Act, alleging that Amazon’s pricing policies “prohibit third-party

22 merchants from lowering their prices anywhere on the internet” and “neutralize competition by

23 other online retail marketplaces.” Id. at 12. The parties in Frame-Wilson and De Coster have

24 “agreed to general cross-use as between Frame-Wilson and De Coster—discovery served or
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 1 produced in one case is available for use in the other, with all parties reserving all objections as

 2 to admissibility of the discovery material in the litigation.” Stipulated Motion and Order

 3 Regarding Discovery, De Coster v. Amazon.com, Inc., No. 2:21-cv-00693 (W.D. Wash. May 18,

 4 2023), Dkt. # 90 at 2.

 5          Like the Frame-Wilson and De Coster plaintiffs, Plaintiffs allege that Amazon denies

 6 shoppers lower prices both on and off Amazon by punishing sellers who offer lower prices off

 7 Amazon. See, e.g., Compl., Dkt. #1 at 83-87. However, Plaintiffs here challenge that conduct

 8 under Section 5 of the FTC Act, Section 2 of the Sherman Act, and numerous state laws not at

 9 issue in Frame-Wilson or De Coster. Plaintiffs also challenge Amazon conduct that is not at

10 issue in Frame-Wilson or De Coster, under both federal and state laws.

11          Hogan is a putative class action brought on behalf of “[a]ll persons who, while residing in

12 the United States, purchased an item during the Relevant Period through Amazon’s Buy Box,

13 and the order was then shipped (or ‘fulfilled’) by Amazon.” Second Amended Class Action

14 Complaint, Hogan v. Amazon.com, Inc., No. 2:21-cv-00996 (W.D. Wash. June 21, 2023), Dkt.

15 #44 at 58-59. The Hogan plaintiffs bring antitrust claims for violations of Section 1 and

16 Section 2 of the Sherman Act, alleging that Amazon “conditioned a Seller’s access to the Prime

17 Badge—and with it, placement in the Buy Box—on a Seller’s using Fulfillment by Amazon,”

18 which results in shoppers “pay[ing] higher prices when shopping on Amazon.com than they

19 would but for Amazon’s unlawful conduct.” Id. at 12-13.

20          Plaintiffs in this case allege that Amazon coerces sellers into using Amazon’s fulfillment

21 service, depriving competitors of scale and constraining rivals’ ability to compete on price and

22 product selection. See, e.g., Compl., Dkt. #1 at 102-117. However, Plaintiffs here challenge that

23 conduct under Section 5 of the FTC Act, Section 2 of the Sherman Act, and numerous state laws

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 1 not at issue in Hogan. Plaintiffs also challenge Amazon conduct that is not at issue in Hogan,

 2 under both federal and state laws.

 3          Plaintiffs’ case differs from and is broader than the Related Cases. However, Plaintiffs’

 4 case involves certain overlapping factual and legal issues with each of the Related Cases.

 5 Plaintiffs’ case and the Related Cases address some of the same conduct engaged in by Amazon,

 6 and Plaintiffs’ case and the Related Cases concern many of the same transactions and events,

 7 including purchases made on Amazon’s online store and certain of the restrictions Amazon

 8 imposes on sellers. Accordingly, it is “likely that there will be an unduly burdensome

 9 duplication of labor and expense or the potential for conflicting results if the cases are conducted

10 before different judges.” Local Rules W.D. Wash. LCR 3(g)(4).

11

12 Dated: September 26, 2023                      Respectfully submitted,

13                                                s/ Susan A. Musser
                                                  SUSAN A. MUSSER (DC Bar # 1531486)
14                                                EDWARD H. TAKASHIMA (DC Bar # 1001641)
                                                  DAVID B. SCHWARTZ (NY Reg. # 4947925)
15                                                COLIN M. HERD (NY Reg. # 5665740)
                                                  DANIELLE C. QUINN (NY Reg. # 5408943)
16                                                Federal Trade Commission
                                                  600 Pennsylvania Avenue, NW
17                                                Washington, DC 20580
                                                  Telephone: (202) 326-2122 (Musser)
18                                                            (202) 326-2464 (Takashima)
                                                  Email: smusser@ftc.gov
19                                                       etakashima@ftc.gov
                                                         dschwartz1@ftc.gov
20                                                       cherd@ftc.gov
                                                         dquinn@ftc.gov
21
                                                  Attorneys for Plaintiff
22                                                Federal Trade Commission

23                                                I certify that this memorandum contains
                                                  833 words, in compliance with the Local Civil
24                                                Rules.
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 1
                                     CERTIFICATE OF SERVICE
 2          I, Susan A. Musser, certify that on September 26, 2023, I electronically filed the
 3 foregoing Motion with the Clerk of the Court using the CM/ECF system. Additionally, today I

 4 effectuated service of the same by email on Kevin M. Hodges, counsel for the Defendant. I
     understand that Defendant’s counsel has consented to service in this manner. A copy of this
 5
     Motion will also be personally delivered today to Kevin Hodges, counsel for Defendant, at
 6
     Williams & Connolly LLP, 680 Maine Ave SW, Washington, DC 20024.
 7
                                                  s/ Susan A. Musser
 8                                                SUSAN A. MUSSER (DC Bar # 1531486)
                                                  Federal Trade Commission
 9                                                600 Pennsylvania Avenue, NW
                                                  Washington, DC 20580
10                                                Telephone: (202) 326-2122
                                                  Email: smusser@ftc.gov
11
                                                  Attorney for Plaintiff
12                                                Federal Trade Commission

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